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AO 91 (Rev. 02/09) Criminal Complaint

United States District Court

for the
Western District of New York

United States of America

 

Vv.

HORMOZ MANSOURI

Defendant

 

CRIMINAL COMPLAINT

I, the complainant in this case, state that the following is true to the best of my knowledge and belief.

Between in or about March 2020 and in or about May 2021, in the Western District of New York and
elsewhere, the defendant did commit violations of Wire Fraud, Bank Fraud, Conspiracy to Commit Wire Fraud and

Bank Fraud, and Money Laundering in violation of Title 18, United States Code, Sections 1343, 1344, 1349, 1956,
and 1957.

This Criminal Complaint is based on these facts:

By Continued on the attached sheet.

A—_s

SS
Complainant's signature

ALLAN RAINS, Special Agent
Federal Bureau of Investigation
Printed name and title

 

Sworn to before me telephonically.

Date: August J, 2021 Beta J / Ok _

- S
’s signature

HONORABLE MICHAEL J. ROEMER
City and State: Buffalo, New York UNITED STATES MAGISTRATE JUDGE
Printed name and title

 
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AFFIDAVIT IN SUPPORT OF
A CRIMINAL COMPLAINT

STATE OF NEW YORK. )
COUNTY OF ERIE ) ss:
CITY OF BUFFALO +)

I. INTRODUCTION

I, Allan Rains, being duly sworn, deposes and says:

i. Tam a Special Agent of the Federal Bureau of Investigation (“FBI”) and have
been so employed since 2001. The FBI is an agency within the United States Department of
Justice, which is a department within the executive branch of the United States
Government. I am currently assigned to the Buffalo Field Office and to the White-Collar
Crime Squad within that office. My duties include the investigation of such offenses as bank
fraud, investment fraud, money laundering, corporate fraud, mail fraud, wire fraud, ‘public

corruption, bankruptcy fraud and other white-collar crimes.

2. As a Special Agent with the FBI, I have received training related to the
enforcement of various statutes of the United States Code, specifically, but not limited to,
Title 18, United States Code, Sections 1343 (Wire Fraud), 1344 (Bank Fraud), 1349
(Conspiracy to Commit Wire Fraud and Bank Fraud) and 1956 and 1957 (Money
Laundering). I have become knowledgeable about criminal activity in connection with the

Small Business Administration’s Paycheck Protection Program and Economic Injury
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Disaster Loan program, and particularly violations of laws prohibiting offenses such as

conspiracy, wire fraud, bank fraud, and money laundering.

3. The facts set forth below are based upon my personal observations, my training
and. experience, and information obtained during the course of the investigation from other
members of law enforcement, involving the review of records, interviews of witnesses, and
information and reports provided. This affidavit is intended to show merely that there is
sufficient probable cause for the Criminal Complaint and does not purport to set forth all of

my knowledge of the investigation into this matter.

4, This affidavit is made in support of the issuance of a Criminal Complaint
charging HORMOZ MANSOURI (hereinafter “MANSOURI”) with Wire Fraud, Bank
Fraud, Conspiracy to Commit Wire Fraud and Bank Fraud, and Money Laundering in

violation of Title 18, United States Code, Sections 1343, 1344, 1349, 1956, and 1957.

 

5. The following legal statutes will be discussed throughout this affidavit:

Title 18, United States Code, Section 1343 provides in relevant part:
Whoever, having devised or intending to devise any scheme or
artifice to defraud, or for obtaining money or property by means
of false or fraudulent pretenses, representations, or promises,
transmits or causes to be transmitted by means of wire, radio, or
television communication in interstate or foreign commerce, any
writings, signs, signals, pictures, or sounds for the purpose of
executing such scheme or artifice, shall be fined, imprisoned or
both.

Title 18, United States Code, Section 1344 provides in relevant part:

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part:

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Whoever knowingly executes, or attempts to execute, a scheme
or artifice to defraud a financial institution or to obtain any of
the moneys, funds, credits, assets, securities, or other property
owned by, or under the custody or control of, a financial
institution, by means of false or fraudulent pretenses,
representations, or promises shall be fined, imprisoned or both.

Title 18 United States Code (U.S.C.), § 1349 provides in relevant part:
Any person who attempts or conspires to commit any offense under this chapter shall

be subject to the same penalties as those prescribed for the offense, the commission of
which was the object of the attempt or conspiracy.

Title 18, United States Code, Section 1956(c)(7) provides in relevant part:
(¢)

(7) the term “specified unlawful activity” means—
(A) any act or activity constituting an offense. listed in
section 1961(1) of this title [including 1343, 1344, and
1349]. .

Title 18, United States Code, Section 1956(a)(1)(B)(i) provides in relevant

(a)

(1) Whoever, knowing that the property involved in a financial
transaction represents the proceeds of some form of unlawful
activity, conducts or attempts to conduct such a financial
transaction which in fact involves the proceeds of specified
unlawful activity—

(B) knowing that the transaction is designed in whole or in part—

(i) to conceal or disguise the nature, the location, the source, the
ownership, or the control of the proceeds of specified unlawful
activity.

Title 18, United States Code, Section 1957 provides in relevant part:
(a) Whoever, in any of the circumstances set forth in
subsection (d), knowingly engages or attempts to engage

in a monetary transaction in criminally derived property
of a value greater than $10,000 and is derived from

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specified unlawful activity, shall be punished as provided
in subsection (b).

Il. PROBABLE CAUSE

United States s Administration

   

6. The United States Small Business Administration (“SBA”) is a United States
government agency, headquartered in Colorado that provides support to entrepreneurs and.
small businesses. The SBA was created in 1953 as an independent agency of the federal
government to aid, counsel, assist and protect the interests of small business concerns, to
preserve free competitive enterprise and to maintain and strengthen the overall economy of
our nation. The SBA aids and assists small businesses in the economic recovery of
communities after disasters. Two programs administered by the SBA to assist entrepreneurs
and small businesses are the Paycheck Protection Program and Economic Injury Disaster

Loan programs.

 

7. The Coronavirus Aid, Relief, and Economic Security (“CARES”) Act is a
federal Jaw enacted in or around March 2020 and designed to provide emergency financial
assistance to the millions of Americans who are suffering the economic effects. caused by the
COVID-19 pandemic. One source of relief provided by the CARES Act was the
authorization of up to $349 billion in forgivable loans to small businesses for job retention

and certain other expenses, through a program referred to as the Paycheck Protection
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Program (“PPP”). In or around April 2020, Congress authorized over $300 billion in
additional PPP funding. In December 2020, Congress passed the COVID Relief Plan
authorizing an additional $284 billion in further PPP forgivable loans. In February 2021,
Congress passed the American Rescue Plan Act of 2021 which authorized an additional $7.25
billion in PPP funding. The PPP program reopened on January 11, 2021 and closed on May

31, 2021.

8. In order to obtain a PPP loan, a qualifying business had to submit a PPP loan
application, signed by an authorized representative of the business. The PPP loan application
required the business (through its authorized representative) to acknowledge the program
tules and make certain affirmative certifications in order to be eligible to obtain the PPP loan.
In the PPP loan application, the small business (through its authorized representative) must
state, among other things, its: (a) average monthly payroll expenses; and (b) number of
employees. These figures are used to calculate the amount of money the small business is
eligible to receive under the PPP. In addition, businesses applying for a PPP loan must

provide documentation in support of their payroll expenses.

9. A PPP loan application must be processed by a participating lender. If a PPP
loan application is approved, the participating lender funds the PPP loan using its own
monies, which are 100% guaranteed by the SBA. Data from the application, including
information about the borrower, the total amount of the loan, and the listed number of

employees, is transmitted by the lender to the SBA in the course of processing the loan.
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10. PPP loan proceeds must be used by the business on certain permissible
expenses——payroll costs, interest on mottgages, rent, and utilities. The PPP allows the interest
and principal on the PPP loan to be entirely forgiven if the business spends the loan proceeds
on these expense items within a designated period of time after receiving the proceeds and

uses a certain amount of the PPP loan proceeds on payroll expenses.

11. A-second source of relief provided by the CARES Act is the funding to the SBA
for the Economic Injury Disaster Loan (“EIDL”) Program. The EIDL program is designed
to provide economic relief to businessés that are currently experiencing a temporary loss of
revenue due to COVID-19. The program provides low interest loans of up to $2 million to
pay for expenses that could have been met had the pandemic not occurred, including payroll,
paid sick leave for employees, increased production costs due to supply chain disruptions, and
business obligations such as debts, rent and mortgage payments. Related to the COVID-19
pandemic, the maximum amount available for an EIDL was $150,000, however, the SBA
announced beginning in or around April 6, 2021, the maximum EIDL amount was increased
to $500,000. In addition to the EIDL program loans, small businesses could request an EIDL
Advance from $1,000 up to $10,000, based on the number of employees indicated on the

EIDL application. The EIDL Advance was a grant and therefore did not have to be repaid.

12, _ As with the PPP loan, to obtain an EIDL, a qualifying business must submit a
loan application signed by an authorized representative of the business. As with the PPP

loan, the EIDL application required the business (through its authorized representative) to
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acknowledge the program rules and make certain affirmative certifications to be eligible to
obtain these loans, Unlike the PPP loan, the EIDL loans are processed and funded directly
from the SBA, not through.a participating lender. The information from applications for both

the PPP and EIDL programs, however, is transmitted to and held’by the SBA.

Overview of the Scheme

13. The scheme involves the use of email, lenders’ online PPP and EIDL loan
application processes, and financial institution funds-wiring processes, in order to
fraudulently obtain PPP and EIDL loan funds. Specifically, MANSOURI and others
transmitted, or caused to be transmitted, multiple PPP and EIDL loan applications that
contained materially false statements and supporting documentation to SBA approved
lenders and the SBA. Reliance on this false information caused multiple federally insured
financial institutions and the SBA to: send, through interstate wires, significant funds to bank
accounts controlled by MANSOURI in the Western Disttict of New York. MANSOURI
would then routinely transfer the furids back and forth through numerous bank accounts,
often times in excess of $10,000, in an attempt to conceal or disguise the nature, location,

source, ownership, or control of the proceeds.

Background on Hormoz Mansouri
14. _MANSOURI operates several business entities in the Western District of New
York, to include HLM Holding LLC, EI Team Inc., NPTS Inc., 2060 Sheridan Drive LLC,

212 Holden Avenue LLC, 350 Old Niagara Falls Boulevard LLC, 47 East Amherst LLC, and
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3600 Harlem Road LLC. According to the New York State Department of State (hereinafter
“NYS DOS”) website, the address to which the NYS DOS will mail process related to each
of the aforementioned businesses is 2060 Sheridan Drive, Buffalo, New York 14223. 2060
Sheridan Drive is the same address associated with MANSOURI in player records obtained

from the Seneca Gaming Corporation.

Relevant Entities
15. HLM Holding LLC (hereinafter “HILM”) is believed to be a holding company
for MANSOURI'’s business ventures which, according to the NYS DOS website, was
established on or about June 25, 1997, and the address is 2060 Sheridan Drive, Buffalo, New
York 14223. In loan applications and bank records, MANSOURI is listed as the

owner/managing partner.

16. 2060 Sheridan Drive LLC (hereinafter “2060 Sheridan Dr.”) is a limited
liability company which, according to the NYS DOS website, was established on or about
December 6, 2012, and the address is 2060 Sheridan Drive, Buffalo, New York 14223. In loan
applications and bank account opening records, MANSOURI is listed as the majority

owner/managing sole member.

17, 212 Holden Avenue LLC (hereinafter “212 Holden”) is a limited liability
company which, according to the NYS DOS website was established on or about July 21,
2010, and the address is 2060 Sheridan Drive, Buffalo, New York 14223. In loan applications

and bank account opening records, MANSOURI is listed as the owner/ managing partner.
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18. 350 Old Niagara Falls Boulevard LLC (hereinafter “350 Old NFB”) is a limited
liability company which, according to the NYS DOS website, was established on or about
December 7, 2012, and the address is 2060 Sheridan Drive, Buffalo, New York 14223. In loan
applications and bank account opening records, MANSOURI is listed as the majority

owner/sole member.

19. 47 East Amherst LLC (hereinafter “47 E Amherst”) is a limited liability
company which, according to the NYS DOS website, was established on or about June 19,
2007, and the address is 2060 Sheridan Drive, Buffalo, New York 14223. Th loan applications
and bank account opening records, MANSOUR! is listed as the majority owner/managing

member.

20. EI Team Inc. (hereinafter “EIT”) is a corporation which, according to the NYS
DOS website, was established on or about September 17, 1921, and the address is 2060
Sheridan Drive, Buffalo, New York 14223. In loan applications and bank account opening
records, MANSOURT is listed.as the owner.

21. NPTS Inc. (hereinafter “NPTS”) is a corporation which, according'to the NYS
DOS website, was established on or about January 14, 1983, and the address is 2060 Sheridan

Drive, Buffalo, New York 14223. In loan applications, MANSOURI is listed as the owner.

22. 3600 Harlem Road. LLC (hereinafter “3600 Harlem”) is a limited liability

company which, according to the NYS DOS website, was established on or about December
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7, 2012, and the address is 2060 Sheridan Drive, Buffalo, New York 14223. In loan
applications and bank account. opening records, MANSOURI is listed as the majority

owner/managing sole member.

23. | Mansouri for County Comptroller is a name which was utilized to establish a
bank account at M&T Bank-on April 23, 2021. The address associated with this bank account
was 2060 Sheridan Drive, Buffalo, New York 14223. MANSOURI was the only authorized

Signatory on the bank account.

Other Relevant Entities

24, M&T Bank is a federally insured financial institution with headquarters in
Buffalo, New York. M&T Bank has over 700 domestic branches with locations in several
States within the United States, to include New York, Maryland, New Jersey, Pennsylvania,
Delaware, Connecticut, Virginia, and West. Virginia. As such, M&T Bank is a financial
institution which is engaged in, or the activities of which affect, interstate or foreign
commerce. PPP funds received from 16 loans were deposited into at least eight M&T Bank
accounts controlled by MANSOURI totaling approximately $3,074,000. In addition, M&T
Bank received funds derived from at least seven EIDL applications totaling approximately

$450,600 into accounts controlled by MANSOURI.

25. As described in detail below, there is probable cause to believe that

MANSOURI and others transmitted, or caused to be transmitted, several materially

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fraudulent PPP and EIDL loan applications to SBA approved lenders and the SBA, and
thereafter used the PPP and EIDL loan funds to make impermissible purchases. Additionally,
MANSOURI and others did knowingly execute, or attempt to execute, a scheme or artifice
to defraud financial institutions or to obtain any of the moneys, funds, credits, assets,
securities, or other property owned by, or under the custody or control of financial
institutions, to wit, M&T Bank and other financial institutions, by means of materially false

and fraudulent pretenses, representations, or promises.

26. The other individuals involved in the scheme included at least two employees
of the MANSOURI entities. These employees were included on communications and
correspondence with the SBA and financial institutions, and in some instances,
communicated and cortesponded directly with the SBA and financial institutions in
furtherance of the conspiracy to obtain the fraudulent loans. These two employees reported

directly to MANSOURI, and took direction from MANSOURL

Summary of Funded PPP Loans to Mansouri Controlled Entities
27. The eight MANSOURI controlled entities applied for and provided fraudulent
representations and documentation for numerous PPP loans. There were ultimately 16 PPP
loans funded (two per entity) by various financial and lending institutions. The below chart

summarizes the 16 funded PPP loans:

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AVERAGE WIRED TO

PPP FUNDING

ENTITY [LOAN TypE| PPPAPP | MONTHLY | axsounr | DATE | M&TBANK | on ncraL
ENDING | PAYROLL | Soeovep |FUNDED| account | MNANCIAL

(PER PPP APP) ENDING

EI TEAM PPP 0248 95,503.00 238,757.50 04/20/20 2678 M&T BANK
EITEAM PPP 7555 109,833.00 274,582.00 01/29/21 2678 M&T BANK
NPTS PPP 8939 56,661.00 141,652.50 04/22/20 2028 M&T BANK
NPTS PPP 4517 109,833.00 274,582.00 01/29/21 «2028 M&T BANK

FC

HLMHOLDING PPP 5948 33,333.00 83,332.00 05/28/20 «5884. «Ss MARKETPLACE
HLMHOLDING PEP 0307 109,833.00 27458200 02/17/21 5884 + =CRBBLUEVINE

2060SHERIDAN PPP 3764 33,333.00 83,300.00 06/12/20 3454 LIBERTY
CUSTOMERS

2060SHERIDAN —s-PEP 2826 109,833.00 274,582.00 02/17/21 3454 BANK
212 HOLDEN PPP 3461 33,333.00 83,300.00 06/12/20 —0135 LIBERTY
CUSTOMERS

212 HOLDEN PEP 2824 109,833.00 274,582.00 02/17/21 —013s BANK
350 OLD NEB PPP 3413 33,333.00 «83,332.00 06/11/20 2274 FUNDBOX
CUSTOMERS

350 OLD NFB PPP 7414 109,833.00 274,582.00 02/17/21 «2274 BANK
47EAMHERST PEP 1113 32,82052 82,051.30 06/11/20 3470 FUNDBOX
CUSTOMERS

47E AMHERST PPP 4622 109,833.00 274,582.00 02/11/21 3470 BANK
3600HARLEM —=FFP 1126 32,820.56 82,051.40 06/18/20 2720 FUNDBOX
CUSTOMERS

3600HARLEM PPP 8538 109,833.00 274,582.00 02/25/21 «2720 BANK

$3,074,432.70

 

 

 

28. The amount funded for PPP loans is calculated by the financial and lending
institutions by taking the average monthly payroll provided by the borrower on the
application and other supporting documents provided to the institution and multiplying that
number by 2.5. The intended purpose of the PPP loan program was to provide businesses
with funding for approximately 10 weeks of payroll (approximately two and a half months).
For each of the 16 PPP loans funded for the MANSOURI controlled entities, the average
monthly payroll was inflated or completely fabricated. In fact, contrary to the representations
made in the application process, six of the eight entities did not have any actual employees or

payroll expenses.

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29. The New York State Department of Labor (hereinafter “DOL”) requires liable
employers to report their payroll and pay unemployment insurance contributions. The DOL
maintains records of paid wages by entity and by employee. Records were obtained from
DOL for each of the MANSOURI controlled entities. The below chart provides a
comparison of the average monthly payroll provided to the lending institutions in the

application process for the 16 funded PPP loans against records obtained from the DOL:

 

ACTUAL
AVERAGE AVERAGE
PPP APP | AMOUNT | DATE MONTHLY | MONTHLY
ENDING| APPROVED |FUNDED| PAYROLL PAYROLL
(PER PPP APP)| (PER NYS

ENTITY LOAN TYPE

 

 

 

 

 

 

 

DOL)
EITEAM PPP 0248 238,757.50 04/20/20 95,503.00 54,905.79
EITEAM PPP 7555 274,582.00 01/29/21 109,833.00 54,905.79
NPTS PPP 8939 141,652.50 04/22/20 56,661.00 10,588.04
NPTS PPP 4517 274,582.00 01/29/21 109,833.00 10,588.04
HLMHOLDING PPP 5948 83,332.00 05/28/20 33,333.00 ,
HLMHOLDING PPP 0397 274,582.00 02/17/21 109,833.00 3
2060SHERIDAN _—s- FPP 3764 83,300.00 06/12/20 33,333.00 :
2060SHERIDAN —- PPP 2826 274,582.00 02/17/21 109,833.00 :
212 HOLDEN PPP 3461 83,300.00 06/12/20 33,333.00 -
212 HOLDEN PPP 2824 274,582.00 02/17/21 109,833.00 =
350 OLD NFB PPP 3413 83,332.00 06/11/20 33,333.00
350 OLD NFB PPP 7414 274,582.00 02/17/21 109,833.00 :
47E AMHERST PPP 1113 82,051.30 06/11/20 32,820.52 :
47E AMHERST PPP 4622 274,582.00 02/11/21 109,833.00 :
3600 HARLEM PEP 1126 82,051.40 06/18/20 32,820.56 ‘
3600 HARLEM PPP 8538 274,582.00 02/25/21 109,833.00 -
$3,074,432.70

 

 

 

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30. The “actual average monthly payroll” column in the above chart was
calculated by taking total wages for 2019 and 2020 for the MANSOURI controlled entities
and dividing the total by 24 months. It should be noted that wages reported to DOL remained
relatively consistent throughout the two year period. Based in part on the analysis of the DOL
records, had the MANSOURI controlled entities provided legitimate payroll information on
the applications, the entities would have qualified for smaller loan amounts or no loans at all.

EIT and NPTS would have qualified for smaller loans and none of the other entities would

have qualified for any loans.

Summary of Funded EIDL Loans to Mansouri Controlled Entities
31. The MANSOURI controlled entities applied for and provided fraudulent
representations and documentation for numerous EIDL’s to the SBA for his eight entities.

There were ultimately seven EIDL’s for which the MANSOURI controlled entities received

an EIDL Advance, EIDL or both. The below chart summarizes the seven funded EIDL’s:

 

 

 

 

 

 

 

 

 

 

 

EIDL APP mancanre REVENUES | COSTOF HIDL | DATE aaaie
ENTITY  |LOANTYPE a (PEREDL |Goops(eR| AMOUNT
ENDING| (PER EIDL po EDL APP) | FuNpEp |FUNDED| ACCOUNT
APP) ENDING
EIDL
EITEAM ADVANCE 9025 13 2,000,000.00 1,195,275.00 10,000.00 04/14/20 2678
EITEAM EIDL 9025 13 2,000,000.00 1,195,275.00 149,900.00 05/11/20 2678
NPTS EIDL 6170 4 2,000,000.00  1,925,000.00 37,400.00 06/01/20 2928
EIDL
HLMHOLDING ADVANCE 5513 0 118,250.00 119,228.00 += 1,000.00 04/13/20 5884
2060SHERIDAN  EIDL 6177 4 2,500,000.00  2,250,000.00 124,900.00 06/22/20 3454
EIDL
3500LDNFB ADVANCE 4461 4 2,500,000.00 2,250,000.00 «4,000.00 06/19/20 2274
3500LD NEB «EID 4461 4 2,500,000.00  2,250,000.00 37,600.00 06/23/20 2274
EIDL
47E AMHERST ADVANCE 8594 4 2,500,000.00  2,250,000.00 4,000.00 06/19/20 3470
47EAMHERST — EIDL B594 4 2,500,000.00 2,250,000.00 38,900.00 06/22/20 3470
36000HARLEM —_—EIDL 0455 4 2,500,000.00  2,250,000.00 42,900.00 06/22/20 2720
$ 450,600.00

 

 

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32. The amount funded for EIDL Advances was based upon the number of
employees provided to the SBA on the loan application ($1,000-per employee up to a $10,000
maximum per entity). The EIDL is calculated by the SBA by taking the reported revenues
minus cost of goods for the 12 months prior to January 31, 2020. The difference was then
divided by two in order to calculate the amount of working capital needed for a six month
period. For entities which had a cost of goods in excess of revenues, they did not qualify for
an EIDL. For each of the MANSOURI controlled entities which received an EIDL, the

revenue and cost of goods which were reported to the SBA were fabricated.

Additional Information in Support of the Scheme
33. | MANSOURI maintained at least one bank account at M&T Bank in the name
of each of the entities where the proceeds for each loan were deposited via wire transfer as
described in the charts. Some of these accounts were opened in May 2020 just prior to the
receipt of PPP/EIDL funds. In addition, MANSOURIL is the sole signatory for each account,
with the exception of the EIT account ending 2678, NPTS account ending 2928, and HLM
account ending 5884. MANSOURI and his wife were the signatories for these three bank

accounts.

34. Areview of the bank records for each of the entities from the date of the account
opening, or January 1, 2019, whichever was later, through May 14, 2021 did not reveal any
payroll expenses for any of the entities in the above table with the exception of payroll

expenses for EIT and NPTS. The bank records support the fact that the payroll provided for

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the PPP loan applications for EIT and NPTS were inflated and the payroll provided for the

other entities was completely fabricated.

35. Additionally, the eight PPP loans listed in the above table referenced in
paragraph 27, which were funded between January 29, 2021 and February 25, 2021, were for
identical amounts ($274,582). In each of the eight loans, the financial institution was
provided documents representing an average monthly payroll amount of $109,833. From my
experience, it is extremely unlikely that each of the eight entities would incur the exact same
monthly payroll amount. Additionally, bank analysis does not substantiate any of the payroll

amounts provided on the applications.

36. Through the course of the investigation, email communications between
MANSOURI and two of his BPN aes have been reviewed. In some of these
communications, MANSOURI directed the employees to falsify information on the loan
applications for both the PPP and EIDL loans. For example, MANSOURI directed the
employees to fabricate documents required by the financial and lending institutions to
substantiate payroll expenses and directed the employees how to answer questions posed by
the institutions. Many of the documents which were fabricated and subsequently submitted

to the institutions were signed by MANSOURI.

37. Many of the transfers of the funds from the financial and lending institutions

and the SBA identified in the tables above, were interstate wires from outside the State of

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New York to the MANSOURI controlled bank accounts maintained in the Western District

of New York.

38. Once funds were received from the financial and lending institutions and SBA
by the MANSOURI controlled entities, MANSOURI did utilize a portion of the funds to pay
payroll and operate the businesses. Included in the payroll expenses were payroll for
MANSOURI, his wife, and his daughter. In addition to the amounts received by
MANSOURI through payroll, in excess of $300,000 was transferred from the MANSOURI
controlled business accounts to personal bank accounts, over $321,000 was utilized to pay
credit cards controlled by MANSOURI (much of which was for expenses related to casino
activity), two checks were drawn on the HLM account ending 5884 in the amount of $60,000
and $66,000 respectively which were utilized to purchase M&T Bank Cashier’s checks
payable to a casino, and $200,000 was transferred to a newly opened bank account for a

political campaign in the name of “Mansouri for County Comptroller”.

39. On May 28, 2021, seizure warrants for the MANSOURI controlled accounts
were authorized by the United States District Court for the Western District of New York,

case number 21-MC-29. Those warrants resulted in the seizure of approximately $1,923,603.

Money Laundering
40. Throughout this scheme, MANSOURI utilized the PPP and EIDL loan
proceeds in a complicated set of transactions between. the various business accounts. By
moving the proceeds through. the various accounts, commingling with legitimate business

revenues, and transferring funds back into different business accounts, his personal accounts,

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to a campaign account, or to a casino, MANSOURI concealed, disguised and obscured the
source, nature, ownership, control, or location of the funds which were derived from the
scheme to defraud. As a result, MANSOURI utilized each account described herein to
knowingly conduct financial transactions affecting interstate commerce, which involved the
proceeds of specified unlawful activity, that is, wire fraud, bank fraud, and conspiracy to
commit these frauds, with the intent to conceal and disguise the nature, the location, the
source or the control of the proceeds, and that while conducting such financial transactions
knew that the property involved in the financial transactions represented the proceeds of some
form of unlawful activity, in violation of Title 18, United States Code, Sections

1956(a)(1)(B)Gi) and 1957.

41. Based on my training and experience, businesses funded with legitimate
income do not behave in the manner described herein. The complicated movement of funds
between the bank accounts appear designed to obfuscate the true source of the funds. Further,
the opening of bank accounts in the days prior to obtaining a PPP or EIDL loan and the
subsequent transfers of the loan proceeds out of those accounts display an effort to conceal
and disguise the nature, source, location, or control of the proceeds. These facts, together with
the transfer of PPP and EIDL proceeds to the MANSOURI campaign account, cashier’s
checks to a casino, and transfers'to his personal accounts, demonstrate that MANSOURI and

the MANSOURI controlled entities were involved in money laundering transactions.

42. Including the $126,000 paid from HLM to a casino as noted above, between
April 2020 and May 2021, MANSOURI transferred, caused to be transferred or paid
approximately $644,805 to a casino, much of which was funded with PPP or EIDL proceeds.

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These payments were made from business accounts, as well as from proceeds transferred from

business accounts to his personal accounts.

43. Each account was also used to transfer from and receive proceeds in excess of
$10,000 after receiving PPP and EIDL funds. Each account was utilized for this purpose at
least one time and sometimes dozens of times in violation of Title 18, United States Code §

1957.

IV. CONCLUSION
44. Wherefore, in consideration of the foregoing, I respectfully submit that between
in or about March 2020 and in or about May 2021, in the Western District of New York, and
elsewhere, the defendant, HORMOZ MANSOURI did commit violations of Wire Fraud,
Bank Fraud, Conspiracy to Commit Wire Fraud and Bank F raud, and Money Laundering in
violation of Title 18, United States Code, Sections 1343, 1344, 1349, 1956, and 1957. I

respectfully request that a Criminal Complaint for MANSOURI be issued.

jl—_e=_s

ALLAN RAINS, Special Agent
Federal Bureau of Investigation

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Sworn to before me telephonically this J _ day
of August, 2021.

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HONORABLE MI L J. ROEMER
United States Magistfate Judge

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